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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                              (Note: Identify Changes with Asterisks (*))
Sheet 1



                                  UNITED STATES DISTRICT COURT
                                                            Northern District of Illinois
 UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
           v.
 SAMI SAMIR HASSOUN                                                         Case Number:        1:10-CR-00773(1)
                                                                            USM Number:         42215-424
 Date of Original Judgment: 05/30/2013
                                                                            Amita Gupta
 (Or Date of Last Amended Judgment)
                                                                            Defendant’s Attorney
 Reason for Amendment:
 ☐ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))          ☐ Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
 ☐ Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                3583(e))
     P. 35(b))                                                              ☐ Modification of Imposed Term of Imprisonment for Extraordinary
 ☐ Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           and Compelling Reasons (18 U.S.C. § 3582(c)(1))
 ☐ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        ☐    Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
 ☒ Modification of Imposed Term of Imprisonment Pursuant to Section              3582(c)(2))
     404 of the First Step Act
                                                                            ☐    Direct Motion to District Court Pursuant ☐ 28 U.S.C. § 2255
                                                                                 or   ☐ 18 U.S.C. § 3559(c)(7)
                                                                            ☐ Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
  ☒ pleaded guilty to count(s) 1 and 2 of the indictment.
  ☐ pleaded nolo contendere to count(s)         which was accepted by the court.
  ☐ was found guilty on count(s)        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                 Offense Ended                   Count
 18 USC § 2332a(a)(2)(D) Attempted to use a weapon of mass destruction against people and property   09/19/2010                      1
         within the U.S. in a manner that would have affected interstate and foreign commerce.
 18 USC § 844(i) attempted to damage and destroy, by means of an explosive, a buidling used in       09/19/2010                      2
         activity affecting interstate and foreign commerce




The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See attachments)
  ☐ The defendant has been found not guilty on count(s)
  ☐ Count(s) dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                      July 3, 2020
                                                                                      Date of Imposition of Judgment

                                                                                      _____________________________________________
                                                                                      Signature of Judge

                                                                                      Robert W. Gettleman , United States District Judge
                                                                                      Name and Title of Judge

                                                                                      July 3, 2020
                                                                                      Date
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ILND 245C (Rev. 03/12/2020) Amended Judgment in a Criminal Case                                              (Note: Identify Changes with Asterisks (*))
Sheet 6 – Schedule of Payments                                                                                                  Judgment – Page 2 of 2
DEFENDANT: SAMI SAMIR HASSOUN
CASE NUMBER: 1:10-CR-00773(1)

                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
* Time served as to count 1; Time served as to count 2. Defendant is to be released immediately to the United States immigration customs
and enforcement for removal purposes.

*☐       The court makes the following recommendations to the Bureau of Prisons:

*☐ The defendant is remanded to the custody of the United States Marshal.

  ☐      The defendant shall surrender to the United States Marshal for this district:

            ☐      at         on

       ☐      as notified by the United States Marshal.

       ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐      before 2:00 pm on

            ☐      as notified by the United States Marshal.

            ☐      as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows: _____________________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

Defendant delivered on ___________ to ________________________ at_____________________________, with a certified copy of this
judgment.


                                                                                  __________________________________________
                                                                                  UNITED STATES MARSHAL


                                                                               By ___________________________________________
                                                                                  DEPUTY UNITED STATES MARSHAL
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